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                        Exhibit 53
REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
                 Case 4:15-cv-01696-YGR Document 195-9 Filed 06/22/17 Page 2 of 11




•     From:
      Sent:
      To:
      Subject:
                                 Balasaraswathi Ma
                                 June 24, 2016 5:46 AM
                                                                 Hannah Shobitha;M Muralikumar
                                 RE: FW: Available profiles - Set I



      Dear Hannah, Associate is allocated from 6-June but he has got his amendment completed only this week. Also he is
      applying LOP from 27-June for his 3 weeks marriage vacation.

      Request your kind approval to     move his allocation from 20-June-16 plsssss.




      Dear Murali, Pis   move his allocation to 20-June after Hannah's approval.

      regards
      Balasaraswathi Mani
      Tata Consultanc
      Mai Ito
      Websi .

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                    Business Solutions
                    Consulting




•     ---23-06-2016 23:28:04---Bala. Associate took time to confirm with immigration team whether he can travel to
      India when his a


      From:
      To:
      Date:      23-06-2016 23:28
      Subject:     RE: FW: Available profiles - Set I




      Bala,

      Associate took time to confirm with immigration team whether he can travel to India when his amendment is filed and in
      progress.

      Also, there was some problem with his courier and his documents reached late to our immigration team.

     - d o esn't have enough leaves to apply as he is already applying for leave without pay for this week.

      Thanks,




•   Attorneys' Eyes Only                                                                                       TCSL TD003599309
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•-    Subba Rao
        t •    I       ~




      From: Balasaraswathi Mani [
      Sent: Thursday, June 23 , 201
      To:Rao,Subballllllillllllllllllllllllll
      Subject: Re: FW: Available profiles - Set I

      Dear Subba, We already allocated him with 1 month buffer. Not sure where the delay is. Can you ask him to apply leave
      from 7-June till his End date so that it won't be a leakage.

      Regards
      Balasaraswathi Mani
      Tata Consultancy Services
      Mai Ito:• • • • • • • • • • •
      Website: http:l/www.tcs.com

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      Business Solutions
      Consulting




•     Fro m'
      To: <    -----
      Date: 22-06-2016 20:05
                                    --~-




      Subject: FW: Available profiles - Set I




      Bala,

                           amendment has been filed las week with .    but his allocation to our WON is done from 6/6 itself.

      Also. -             has plan for his marriage vacation to India starting 6/27 (flight planned from Minneapolis) and can relocate to Atlanta
      only after 3 weeks of vacation.

      Can you please help to get his allocation changed to our WON starting from 6/20 -         has agreed to apply leaves for the week of 6/20
      also.

      Thanks,
      Subbu

      Subba Rao
      l'rogrnm Manager - TCS




•   Attorneys' Eyes Only                                                                                                        TCSLTD003599310
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•
      DearShyam,

      Pis close RGS ID also.




      3776005 4593102




      Regards
      Balasaraswathi Mani




•
      Tata Consultancy Services
      Mai Ito
      Websi . '-""I'"-"-'-..,,....="""-'=

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      Business Solutions
      Consulting




      From: Shyamnath B/CHN!TCS

      To:.Hainjnjah•Sihiojbi..th.aliCIHNlrrlcisi@
      Cc:.                              •       i rlcisilllllllllllllllllllllllllllllllllllllllllllllllllllllllllllllllll
      Date: ~05-2016 02:56
      Subject: RE: Available profiles - Set I




      Dear Hannah,

      Allocation has been completed.

      FYI




•   Attorneys' Eyes Only                                                                                 TCSLTD003599311
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•
         Percentage Allocation




               Employee No:                                                      Employee Name:

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         Allocation Detals of




•             EmpleyeE Detailr.




         ' ; LJ
                      Project N10,


                         2523502                                                         Team Member
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                           .:.w4                          .Jt.




      Thanks & Regards
      Shyamnath.B
      US RMG TEAM




•   Attorneys' Eyes Only                                                                                                                                    TCSLTD003599312
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      Malito·······
       India.

       Website: htto://www.tcs.com




                                                Shramnalh BICHNfTCS!TCS


      Subject: RE: Available profiles - Set I




      Hi Shyam - Pl allocate from 616




•     Thank You & Regards,
      Hannah Shobltha Y,
      RMG Lead - Retail, CPG, TIH, Govt & Cincinnati DC,
      Tata Consultanc Services




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      Business Solutions
      Consulting




      From:
      To: <
      Cc: <                                                  -   - - --   -----
      Date: 0510512016 04 :32 PM
      Subject RE: Available profiles - Set I




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•
      Hi Hannah,

      We would like to confirm                                         for our Merch requirement. Please allocate him to the WON 2623602
      starting 6/13 (allowing 5 weeks of time to get his new LCA & amendment done).

      Thanks,
      Subbu

      Subba Rao




      From: Balasaraswathi Mani
      Sent: Thursday, May 05, 2016 I :04 AM
      T o : · · · · · · · · · · · · · · · · · · · · · · · · · · · ; Hannah Shobitha <


      Dear Team, Pis consider all the profiles attached in below email trail and get back to Hannah imddly. Already many accounts
      responded.




•
      Dear Hannah, Request your kind support to includ~roup ID as well in your email communication pis. We have 13
      Java/Ui positions came up yesterday and looking for profiles to close all of them ASAP.

      As Manju got confirmed for 1 among these requirements and her aging is high we can give allocation from 1-May and make
      her billable imddly without any amendment etc. Pis help.

                                                                                                       SBA
      Java/WS            TCS    Onsile    ADM   ~~y-l 6 3776005 4593102 Merch       New   Open   TCS
                                                                                                       Grouping
                                                                                                       SBA
      Java/WS            TCS    Onsile    ADM   ~~y-l 6 3776005 4593103 Merch       New   Open   TCS
                                                                                                       Grouping
                                                15-                                                    Enterprise
      Java/WS            TCS    On site   ADM   May-l 6   3776005 4593105   Merch   New   Open   TCS
                                                                                                       MDAPis
      Java/JavaScript    TCS    On site   ADM   ~~y-l 6 3776005 4593107 Merch       New   Open   TCS   IDM
      HTML/JQuery                               15-
                         TCS    On site   ADM   May-l 6   3776005 4593110 Merch     New   Open   TCS   PacMan-UI
      (Angular JS)
      Java               TCS    Onsite    ADM   ~~y-l 6 3776005 4593106 SCM         New   Open   TCS   COMDMS
      Java               TCS    Ons11e    ADM   ~~y-l 6 3776005 4593104 SCM         New   Open   TCS   COMDMS
      Java               TCS    On site   ADM   ~~y-l 6 3776005 4593108 SCM         New   Open   TCS   COMDMS
      Java               TCS    Onsile    ADM   ~~~y-l 6 3776005 4593111    SCM     New   Open   TCS   SCM
                                                15-
      Java               TCS    Onslte    ADM   May-l 6   3776005 4593109   SCM     New   Open   TCS   SCM
      Java               TCS    On site   ADM   ~:~y-l 6 3770271 4582327 SCM        New   Open   TCS   SCM
      Java               TCS    On site   ADM   15-       3770271 4582330   SCM     New   Open   TCS   SCM




•   Attorneys' Eyes Only                                                                                             TCSLTD003599314
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•     HTML/JQuery
      (Angular JS)
                           res    Onsite   ADM
                                                  May-16

                                                  ~~y- l 6 3770271 4582329 SCM    New   Open   TCS   SCM




      Regards
      Balasaraswathi Mani
      Tata Consultanc
      Mai Ito
      Website: http://www.tcs.com

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      Business Solutions
      Consulting


      --- Forwarded by Balasaraswathi Mani/CHNITCS on 05-05-2016 10:30 ---

      From: Hannah Shobitha/CHNITCS

           ..         ~                                    ..                "'
                                                                                                           :   •~I   •       irag


      ------

                                                   -~-~-

                                                                                                                             @TCS,




•
      Deepanshu Garg/AMERITCS@TCS, Rajesh ShunmugamlCHN/TCS@TCS, Sv Rao/AMERITCS@TCS, Anand PandeylAMERrTCS@TCS, S
      Swaminathan/CHNffCS@TCS, Atish Dasgupta/CHN/TCS@TCS, G Prabakaran/CHNITCS@TCS, Karthikeyan Ap/AMER/TCS@TCS, Rajni
      Sachan/AMER/TCS@TCS, Sanjay Srivastav/HYD/TCS@TCS, Swanand Gaikwad/MUM/TCS@TCS, Tharun Job/CHN/TCS@TCS, Ranjith
      Velu/CHN/TCS@TCS, Soumitra Dhavalikar/PNE/TCS@TCS, Praveen Padala/AMER/TCS@TCS, Padmapriya1 G/CHN/TCS@TCS , Anandan
      Chandran/CHN/TCS@TCS, Aloke Srivastava/MUM/TCS@TCS, Mohanarn Geetha/AMER/TCS@TCS, Varsha MakharialAMER/TCS TCS, Niloy
      Jana/AMER/TCS@TCS, Rarneshkumar Krishnan/CHN/TCS@TCS, Jatin Doshi/PNE/TCS@TCS,                                , Praveenkumar
      RajanlAMER/TCS@TCS, Utsav S/DELrTCS@TCS, Sriram Krishnan2/CHNITCS@TCS , Mohana Rao/         CS@TCS, R Reddy/AMER/TCS@TCS ,
      Balasaraswathi Mani/CHN/TCS@TCS, Sathish Prabhu/CHN/TCS@TCS, Sabariprasad Vijayanarayanan/CHN/TCS@TCS , Raja
      Marimuthu/CHNrTCS@TCS.                          Mukul Sharma/AMERrrCS@TCS
      Cc: Selva Kp/CHNITCS@TCS, Vinothselvam RICHN/TCS@TCS
      Date: 05-05-2016 01 :16
      Subject: Available profiles - Set I




      Team ,

      Pl consider and revert ASAP

      Confirmation only on WON basis after evaluation -

      We need t look at BA replacements as well - If you are considering , pl respond with a copy to me only




•   Attorneys' Eyes Only                                                                                             TCSLTD003599315
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                                                                 7.5    HlB     &pat

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•     Thank You & Regards,
      Hannah Shobitha Y,
      RMG Lead - Retail, CPG, TTH, Govt & Cincinnati DC,
      Tata Consultanc Services




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      Consulting

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